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     Exhibit 383
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·5· · ·11/21/2020 'Dominion-izing' The Vote (rebroadcast
·6· · · · · · · · · · · · ·12/19/2020)
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13· https://www.youtube.com/watch?v=746HTjhFifA
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·1· · · · · · (00:07)
·2· · · · · · CHANEL RION:· In this edition of One America
·3· News Investigates, we look at Dominion voting systems
·4· and its role in the 2020 presidential elections,
·5· glitches, errors, money trails to powerful Democrats.
·6· Dominion is just one of three major companies providing
·7· voting systems to America.· But Dominion captured
·8· headlines when it was discovered it had glitched 6,000
·9· votes, giving Biden a fraudulent win.· This was not an
10· isolated event.
11· · · · · · In 2016 Antrim County, Michigan affirmed
12· its Republican loyalties by voting Trump 62 percent,
13· beating Clinton by 4,000 votes.· Fast forward four
14· years, and Antrim County was shocked to find itself
15· voting Joe Biden over Trump by 3,000 votes, a
16· complete flip from the last presidential election.
17· Something was very wrong.
18· · · · · · When the county set to work with a manual
19· recount, they discovered a ghastly error.· Six
20· thousand Trump votes were accidentally tallied for
21· Biden.· RNC chairwoman Ronna McDaniel held a press
22· conference noting a litany of irregularities in
23· Michigan, but when it came to Antrim County, the
24· irregularity was much bigger in scale.
25· · · · · · RONNA McDANIEL:· When they inquired with the


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·1· floor, they were told it was a software issue and it was
·2· corrected.· But now we know that 47 counties used that
·3· same software.
·4· · · · · · CHANEL RION:· It was certainly odd.
·5· Republicans wanted an investigation to insure no more
·6· such mistakes happened elsewhere.· However, Michigan's
·7· Democrat secretary of state was quick to pronounce such
·8· concerns as ridiculous, immediately denouncing any
·9· suspicion of technical foul play.· Quote, the software
10· did not cause a misallocation of votes.· It was a result
11· of user human error.· See, no need to investigate.
12· After all, it's 2020 and software errors are impossible,
13· right?
14· · · · · · SPEAKER:· I'm here to tell you that the
15· electronic voting machines Americans got to solve the
16· problem of voting integrity, they turned out to be an
17· awful idea.· One vote for McCain.· That's because people
18· like me can hack them all too easily.
19· · · · · · CHANEL RION:· That was some professor out of
20· Michigan back in 2018 in the New York Times.· Ignore
21· that.· The system Michigan Democrats don't want
22· Republicans to investigate, the system part of what DHS
23· proclaimed, quote, the most secure in American history.
24· Meet Dominion voting systems.· A Canadian firm, Dominion
25· is one of three companies providing 90 percent of


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·1· America's voting systems.· Dominion serves 28 U.S.
·2· states including battlegrounds like Pennsylvania,
·3· Michigan, Arizona, all of Georgia and Nevada.
·4· Incidentally, Michigan was not the only battleground
·5· state to experience problems with Dominion.· Georgia
·6· went all in with Dominion buying 30,000 machines in
·7· installed across the state.· Just nine months before the
·8· general election Georgia secretary of state boasted of
·9· his state's partnership with Dominion to install all
10· these new machines.
11· · · · · · SPEAKER:· Dominion and the secretary of
12· state's office worked very closely together on making
13· sure we had the staff here to get these things put
14· through.
15· · · · · · CHANEL RION:· Then a few months later in
16· Georgia's June primaries, Dominion proved to have a few
17· hiccups.· Don't take it from us.· Here's PBS.
18· · · · · · PBS SPEAKER:· The poll pads took as long as 30
19· hours to download the voter database, displayed the
20· wrong races, and would randomly shut down, and the
21· power-hungry ballot marking devices blew circuit
22· breakers in numerous locations.· Poll workers, many of
23· whom had no hands-on training because of the pandemic,
24· were often befuddled by the new technology.
25· · · · · · CHANEL RION:· Indeed.· Even by the general


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·1· election five months later Georgia was still in trouble.
·2· · · · · · SPEAKER:· They have not certified the
·3· elections, including two of the most populous in the
·4· state between technical issues --
·5· · · · · · SPEAKER:· Let's begin with Lysa Lucas.· She's
·6· live at Gwinnett County's elections office in
·7· Lawrenceville where thousands of votes are in limbo
·8· because of a software issue.
·9· · · · · · SPEAKER:· There is an issue in Gwinnett County
10· as officials have told us that 60,000 Gwinnett County
11· ballots are in limbo after a software issue, and this is
12· according to the communications director of Gwinnett
13· County.
14· · · · · · CHANEL RION:· While all of this plays out
15· before our eyes, Republicans demand investigations.· The
16· government officials demand we look away.
17· · · · · · SPEAKER:· There have not been any evidence of
18· anything that would undermine the validity of this
19· election, and it's time to move forward.
20· · · · · · CHANEL RION:· Meanwhile, the Trump legal team
21· under former New York Mayor and prosecutor, Rudy
22· Giuliani, disagreed.· Antrim County put Dominion systems
23· front and center.· Now we must dig deeper.
24· · · · · · RUDY GIULIANI:· Now we've got to look at how
25· often did it break down in other parts of the state.


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·1· And when you look back on the history of Dominion, which
·2· is a Canadian firm, it's made in states in Canadian
·3· elections similar to that.
·4· · · · · · CHANEL RION:· The Trump legal team's Dominion
·5· wing is led by General Michael Flynn's attorney, Sidney
·6· Powell, who has long warned Americans the dangers of our
·7· election systems relying on foreign software.· Mind you,
·8· no one is claiming that Dominion is solely responsible
·9· for the fiasco and the vote irregularities that defined
10· the 2020 general election, but when we return, prepare
11· to be stunned when you find out just how easy it is to
12· manipulate votes through Dominion, why one major state
13· deemed Dominion dangerously easy to hack, and how one
14· hacker read the user guide flagging stunning questions
15· for the feds.· We'll be right back.
16· · · · · · SPEAKER:· Methods of communication have
17· changed throughout history with the advancement of
18· technology.· Since first declaring his candidacy in
19· 2015, President Trump has relied on Twitter to share his
20· thoughts directly with the American people.· But the
21· 45th president was not the first president to rely on
22· the technology of the times to get his message out.
23· Calvin Coolidge made the first presidential radio
24· address in 1923, making his voice the most heard of any
25· man in history.· This was the first time people across


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·1· the country could hear the president speak at the same
·2· time all from the comfort of their own homes.
·3· · · · · · A decade later this evolved into Franklin
·4· D. Roosevelt's fireside chats where the president
·5· could explain his policies with the feeling of a
·6· friendly conversation in the form of an evening radio
·7· broadcast.· Television was still a very new
·8· technology in 1947, but that didn't stop Harry Truman
·9· from breaking ground as the first president to have a
10· live televised address from the Whitehouse.· This
11· ushered in a new relationship between the Whitehouse
12· and the media.· Now, not only could Americans hear
13· their president, they could see him as if they were
14· in the very same room.
15· · · · · · The late '90s saw the rise of the internet,
16· and Bill Clinton saw this as an opportunity to speak
17· directly with citizens.· Clinton held the first
18· presidential Web chat in 1999 giving anyone with an
19· internet connection a chance to send questions to the
20· president as the world watched live on TV.· Calvin
21· Coolidge believed speaking directly to the press was
22· the best way to bypass Congress to speak with the
23· people.· By using Twitter, President Donald Trump
24· modernized this idea for today's population.
25· Like so many before him, President Trump is using the


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·1· technology of the times, making sure his message is
·2· heard clearly and directly by Americans all over.
·3· · · · · · CHANEL RION:· No voting system is perfect.
·4· Here are the heads of the top three voting systems
·5· telling Congress as much.
·6· · · · · · SPEAKER:· Is there any method of voting that's
·7· a hundred percent secure?
·8· · · · · · SPEAKER:· No.
·9· · · · · · SPEAKER:· No.
10· · · · · · SPEAKER:· No.
11· · · · · · CHANEL RION:· They go on to say their voting
12· systems are mostly safe, but here is a senate letter
13· from December 2019 slamming these three companies.
14· Election security experts have noted for years that our
15· nation's election systems and infrastructure are under
16· serious threat.· The senate letter then highlights how
17· the top three voting systems, ES&S, Heart Intercivic and
18· Dominion voting systems, quote, have long skimped on
19· security in favor of convenience, leaving voting systems
20· across the country prone to security problems.· The
21· lawmakers who wrote this letter, none other than
22· Senators Elizabeth Warren, Amy Klobuchar, Ron Wyden and
23· Congressman Mark Pocan, all Democrats.· One year later,
24· now that America is asking whether Dominion tampered
25· with our votes in Joe Biden's favor, where are these


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·1· Democrats now?
·2· · · · · · In the last two years Dominion aggressively
·3· marketed itself to every state in the union.· And
·4· while Georgia went all in and lived to regret it, one
·5· state give it a Texas-sized thumbs down.· Upon
·6· testing Dominion machines and its accompanying
·7· systems, the state of Texas concluded Dominion was
·8· too, quote, fragile and error prone and could not be
·9· trusted for safe and secure elections.
10· · · · · · So what makes the machines fragile and
11· error prone?· Ron Watkins, a large systems data
12· analyst, tells One American News after over a week
13· pouring over Dominion user guides, he was stunned by
14· how easily ballots could be accessed by one person
15· with access to one machine.
16· · · · · · RON WATKINS:· With the Dominion system, you
17· need to be most concerned about activist IT people.· The
18· operator's system, in my opinion, have way too much
19· power to control the internal features and settings of
20· the system.
21· · · · · · CHANEL RION:· Just reading the Dominion
22· manual, Watkins says he understands the system enough to
23· devise an alarming number of ways to alter vote counts
24· across an entire precinct using Dominion.
25· · · · · · RON WATKINS:· I was looking at this manual


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·1· with the mindset of a penetration tester.· An
·2· administrator would have the ability to delete ballots,
·3· reset counts, delete entire batches, et cetera.· There's
·4· a lot of things that they can do.
·5· · · · · · CHANEL RION:· Watkins notes while there are
·6· legitimate reasons for such controls, there's no mention
·7· as to whether there's a way to track or hold users
·8· accountable for deleting or altering ballots.
·9· · · · · · RON WATKINS:· Dominion will train between two
10· to six workers per county who are appointed by the
11· county to undergo election systems training.· These two
12· to six workers are trusted to not tamper with the final
13· tabulation and counts while transferring data between
14· the ICC, which is the image cast central tabulation
15· software and the county.· So this transfer process is
16· literally just dragging some folders on a Windows
17· computer onto a flash drive, then physically handing the
18· flash drive to the county.
19· · · · · · What I want to know is during this handoff
20· are these people being watched by auditors to make
21· sure this flash drive isn't switched off for
22· something else.· Are these folders being dragged
23· correctly onto the flash drive.· Has the data been
24· altered before or after it's been handed off.
25· · · · · · CHANEL RION:· This is where the security


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·1· problem magnifies.
·2· · · · · · RON WATKINS:· Do you trust the worker who logs
·3· into the tabulation machine to drag the correct votes
·4· onto the flash drive, are they dragging all the votes.
·5· Theoretically you could swap the flash drive for a
·6· different flash drive.· There's no accountability there.
·7· And then once the county commissioner or whoever accepts
·8· that flash drive gets the flash drive, do you trust them
·9· to not go in and edit the contents before they report
10· it.
11· · · · · · CHANEL RION:· As Georgia underwent its recount
12· two weeks after election day, flash drives were found
13· with unaccounted ballots on them.· Over 2700 votes had
14· been forgotten in the initial count.· 1500 of those
15· votes were for Donald Trump, 1100 for Biden.
16· · · · · · RON WATKINS:· So another issue is the keys.
17· The keys to the machine are digital devices.· It's
18· unclear what the device is.· It might be like an RFID
19· device or USB or something, but it is clear that it's a
20· digital device that holds some kind of cryptographic key
21· on it.· If you lose this physical key to the machine,
22· then you lose absolute security of the entire precinct.
23· · · · · · Say Philadelphia was storing these keys in
24· a warehouse and they were robbed and the only thing
25· stolen were these keys and a laptop.· Then you should


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·1· consider their entire election to be illegitimate
·2· because they have lost the physical security of the
·3· system.
·4· · · · · · CHANEL RION:· That's just what happened in
·5· Philadelphia one month before election day.
·6· · · · · · SPEAKER:· Philadelphia police are
·7· investigating after somebody broke into an election
·8· machine warehouse and stole a laptop and a USB drive.
·9· The theft happened last night at the warehouse on the
10· 3500 block of Scotts Lane and East Falls.
11· · · · · · CHANEL RION:· Officials were quick to declare
12· this theft had nothing to do with the election and was
13· not malicious at all, an odd declaration.· You don't
14· catch the criminal, but you decide you know their
15· motive.· Interesting judicial logic, Philadelphia.
16· Meanwhile, local reporter posted this video on social
17· media where he's seen walking around that same warehouse
18· without being noticed.
19· · · · · · RON WATKINS:· Whoever stole those keys in
20· Philadelphia has admin access.· Do you trust a random
21· thief who has administrative access to the voting
22· machine.· They could have theoretically been able to
23· make as many keys as they want for Philadelphia.
24· · · · · · CHANEL RION:· On election night, Donald Trump
25· led Joe Biden by 800,000 votes, major precincts


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·1· reporting.· In the dead of night, that lead disappeared.
·2· Biden overtook Trump and took the whole state of
·3· Pennsylvania by 60,000 votes.· That 60,000 vote bump
·4· came from the very Philadelphia County in which the
·5· drive and laptop had been stolen.
·6· · · · · · Watkins' list of concerns about Dominion's
·7· vulnerabilities went on.· Watkins found it strange
·8· that algorithms for ballots with just one candidate
·9· on it, called an undervote, were so complicated, and
10· it is unclear what happens to these ballots.
11· · · · · · RON WATKINS:· The computer may or may not
12· throw out your vote.
13· · · · · · CHANEL RION:· Another concern, right after the
14· 2018 midterms, Pennsylvania made a custom request.· They
15· requested Dominion change the system to read a straight
16· Republican or a straight Democrat ballot, but oddly read
17· an individual candidate separately from the rest of the
18· straight ticket choices below.
19· · · · · · RON WATKINS:· I looked at the font they were
20· using, and it's part of the Arial family of fonts,
21· Arial, which is a sans serif font.· And with this font
22· family, a capital I and a lower case L are nearly
23· indistinguishable on a piece of paper.· The person who
24· designs the ballot and the race could theoretically put
25· Donald Trump in the Repub-I-can party, not the


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·1· Republican party, and that would be a capital I instead
·2· of the L., and then everybody else on the Republican
·3· party would just be in the normal Republican party.· In
·4· that situation, if you vote just straight party for the
·5· Republicans, then Trump would not get a vote, and I've
·6· been hearing a lot of issues of Trump performing poorly
·7· in heavily Republican areas.
·8· · · · · · CHANEL RION:· Next, Watkins says the machines
·9· are not supposed to connect to the internet, but there
10· don't seem to be physical safeguards against connecting
11· to internet through the store-bought laptops.
12· · · · · · RON WATKINS:· If these computers, if even one
13· of these computers was connected to the internet, like
14· if one election worker said oh, I'm going to look at
15· Tiktok videos for the next hour for my break, then the
16· entire precinct is compromised.
17· · · · · · CHANEL RION:· But even these concerns were
18· minor compared to what Watkins shared with us next.
19· Dominion's algorithm for handling an anomaly, that is, a
20· stray mark or bleed through from a Sharpie pen.
21· · · · · · RON WATKINS:· So this is the big one that I'm
22· most concerned about.· If the scanning system detects
23· any anomaly on your ballots, then you are not counted.
24· · · · · · CHANEL RION:· What Watkins reveals next
25· explains one of the strangest mysteries of the 2020


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·1· election.· We'll be right back.
·2· · · · · · SPEAKER:· Every day your body's engaged in a
·3· microscopic battle, and it's your immune system's job to
·4· detect, deflect and destroy these invaders and to keep
·5· you healthy.· One daily dose of Texas super food is
·6· loaded with the vitamins and minerals and nutrients from
·7· 55 raw fruits and vegetables, so your best defense these
·8· days is a healthy immune system, and Texas super food
·9· can help you get it.· So if you can't, won't or don't
10· eat all your fruits and vegetables every day, Texas
11· super ever food is made for you.
12· · · · · · SPEAKER:· Dogs in America are experiencing a
13· health crisis, and the cause may be one specific thing
14· in their diet.· It's in hundreds of dog foods, and you
15· may have already noticed warning signs like digestive
16· problems, itching, bad breath and odors, but the
17· long-term impact can be far worse.
18· · · · · · Fortunately, world famous veterinarian Gary
19· Richter has a new trick to improve your dog's food at
20· home without switching brands.· To learn how to help
21· your dog live a long, healthy life just visit
22· checkyourdogfood.com.· That's checkyourdogfood.com.
23· · · · · · SPEAKER:· Here's an important message from
24· Diabetes Solution Center.· Diabetics understand all too
25· well the pain of pricking your fingers.· But now, by


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·1· wearing a small remote device called a continuous
·2· glucose monitor or CGM, you can immediately reduce your
·3· pain.· It's easy to use and helps you make more accurate
·4· treatment decisions.· If you are testing your blood
·5· sugar four or more times daily, injecting insulin three
·6· or more times daily, or using an insulin pump, call the
·7· Diabetes Solution Center right now to learn about this
·8· ground breaking new CGM technology.· And if you have
·9· Medicare, you can get a new CGM at little to no
10· out-of-pocket cost.· Shipping is free, and we'll even
11· bill your insurance company for you.· If you are testing
12· your blood sugar four or more times daily, injecting
13· insulin three or more times daily, or using an insulin
14· pump, call the Diabetes Solution Center right now to
15· learn how you can get your own continuous glucose
16· monitor or CGM at little to no out-of-pocket cost.
17· · · · · · CHANEL RION:· Ron Watkins' analysis of
18· Dominion voting systems is through a singular lens, that
19· of an infiltration hacker.· Through that lens the
20· machines are disastrously vulnerable.· But as a systems
21· analyst, the biggest red flag about Dominion was its
22· algorithm where ballots with anomalies bleed through
23· their stray marks are set aside and not counted.
24· · · · · · RON WATKINS:· What happens when your vote is
25· not counted due to an anomaly?· Then a scan of your


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·1· ballot gets saved into a folder on the ICC, the image
·2· cast central tabulation system.· This allows for those
·3· two to six people who are trained by Dominion to go
·4· through the folder of anomalies and either delete or
·5· verify each of the ballots inside the folder.· I believe
·6· it's called vote adjudication.· These workers can
·7· theoretically see which candidates have been marked as
·8· votes on these anomalous ballots before they are
·9· verified and officially cast, so it's possible they
10· could in theory hand pick a certain party's votes to be
11· verified while throwing out all the others.
12· · · · · · CHANEL RION:· But it's the next point that
13· stuns Watkins most.
14· · · · · · RON WATKINS:· The biggest issue here is that
15· the system for detecting anomalies can be set up by
16· altering gamma settings on the scanner so that every
17· ballot has an anomaly.· Thus, in effect, by altering
18· gamma settings on the scanner so that every ballot has
19· an anomaly, this in effect allows those two to six
20· trained people to go through and hand check every single
21· ballot before they're filed and cast into the tabulation
22· system as an actual vote.· That last point explains to
23· me how certain candidates can get 130,000 votes at once
24· with zero votes going to the other candidate.· It
25· explains to me how or why vote workers in places like


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·1· Arizona might have given Sharpies to certain voters
·2· because they might have wanted that specific vote to be
·3· caught by the anomaly system and hand verified at a
·4· later time.
·5· · · · · · CHANEL RION:· Watkins says this is a task for
·6· the feds.
·7· · · · · · RON WATKINS:· My recommendation is for data
·8· forensics teams, federal data forensics teams to seize
·9· or subpoena the ICC image cast central vote tabulation
10· machines which are just Windows 10 up off-the-shelf
11· machines, go through and see how many votes hit or how
12· many votes arrived into the folder which is specifically
13· set up for anomalies.· This one bug has to affect an
14· entire election.· And it's not even a bug.· It's a
15· feature.
16· · · · · · CHANEL RION:· One that would allow enormous
17· batches by the hundreds of thousands to be decided on by
18· a few unmonitored workers.
19· · · · · · RON WATKINS:· Your vote doesn't matter in
20· these districts with the Dominion machines in them
21· because these two to six people trained by Dominion have
22· ultimate control.· It doesn't take a genius to realize
23· that setting the gamma levels incorrectly makes all the
24· ballots become anomalies, which you can then go through
25· later and adjudicate.· If I was Trump, I would


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·1· investigate those two to six people per county first.
·2· · · · · · CHANEL RION:· Watkins is of the opinion any
·3· competent hacker, thief or paid-off poll worker could
·4· game the Dominion system and alter hundreds of thousands
·5· of votes, but a bigger question lurks.· To what extent
·6· was this actually designed by the top on purpose.
·7· · · · · · In September 2020, FEC United founder Joe
·8· Oltmann had infiltrated Antifa to uncover journalists
·9· who were active members of the Antifa group attacking
10· his company in Colorado.
11· · · · · · Joe, you infiltrated an Antifa conference
12· call this past September and accidently came upon a
13· top Dominion voting systems executive named Eric
14· Coomer.· Describe that call and what it led you to
15· find.
16· · · · · · JOE OLTMANN:· It was interesting how the call
17· started.· Somebody said who's Eric.· He said Eric's the
18· Dominion guy.· Someone actually said hey, go ahead, told
19· him to continue speaking, and someone interrupts and
20· says what are we going to do if F'ing Trump wins, and
21· Eric responds, and I'm paraphrasing this, by the way,
22· don't worry about the election.· Trump is not going to
23· win.· I made F'ing sure of that.· And then they started
24· laughing, and somebody says F'ing right.· And so I just
25· put a simple Google search to start, which was Eric,


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·1· Dominion, Denver, Colorado and Eric Coomer came up
·2· immediately under Dominion voting systems.
·3· · · · · · CHANEL RION:· Turns out Eric Coomer held a top
·4· position at Dominion with a Ph.D. in nuclear physics.
·5· Coomer joined Dominion as vice president of engineering
·6· and holds several patents with Dominion, insuring users
·7· can adjudicate ballots from the machines, the very
·8· function Ron Watkins pointed out as a huge red flag.
·9· After the election Oltmann was sent an article
10· highlighting Eric Coomer from Dominion.
11· · · · · · Oltmann started looking into Eric again.
12· Eric was the director of strategy and security at
13· Dominion, and a shareholder in the company.
14· · · · · · JOE OLTMANN:· When I got into his Facebook
15· page, that's when things really started to come together
16· for me that, you know, that Eric Coomer was this, you
17· know, he was not just Antifa.· He was responsible for
18· putting his finger on the scales of our election.
19· · · · · · CHANEL RION:· And Dominion seemed to be a
20· friendly place for such anti-Trump sentiment.· Coomer
21· goes on to travel to battleground states all of 2019.
22· · · · · · JOE OLTMANN:· Wherever they were building to
23· coming into the 2020 election, that he made sure it
24· happened.· He made sure that Dominion voting systems was
25· in all the battleground states for the 2020 election.


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·1· · · · · · CHANEL RION:· Eric shared three folders of
·2· screen shots capturing the disturbing profile of Eric
·3· Coomer starting back in the 2016 election.
·4· · · · · · JOE OLTMANN:· So this is a rant, he says rant.
·5· Facebook friend, land open call.· If you're planning to
·6· vote for this autocratic, narcissistic, fascist, asshat
·7· blowhard and his Christian jihadist VP pick, unfriend me
·8· now.· No, I'm not joking.· I'm not for reason, political
·9· discourse and healthy debate.
10· · · · · · You could see how he started to just become
11· unhinged.· So he actually talks about the fact that
12· his work has the same mentality that he has towards
13· being anti-Trump.
14· · · · · · CHANEL RION:· Oltmann shares over 80 images of
15· posts Coomer shared on his pages.· The Antifa manifesto,
16· songs like Dead Prez, Body Count, Cop Killer, F the USA.
17· Once Oltmann man begins the expose, Coomer panics.
18· · · · · · JOE OLTMANN:· He locked down everything.· He
19· scraped the internet of everything having Eric Coomer on
20· it.· So they even went into lead candy.· Dominion took
21· him off their website, removed him from the board
22· position on their site.· They've literally made Eric
23· Coomer a ghost.
24· · · · · · CHANEL RION:· As we were putting this
25· investigation together, the public listings of employees


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·1· for Dominion were fast dwindling from public purview,
·2· but we also came upon a friend of Coomer, a woman named
·3· Penelope Chester-Starr.· She works at Dominion too.· As
·4· communications director, her resume reads Clinton
·5· Foundation and vice president of the Bill and Hilary
·6· cash cow Teneo.· Teneo booked Bill Clinton's speaking
·7· engagements.· Chester-Starr also organizes anti-Trump
·8· rallies in Canada.· These are just two Dominion
·9· employees of dozens more with clear anti-Trump
10· allegiances.· In Coomer's case, he was in a position of
11· power to actually act upon his rage against Trump and
12· Trump voters.· What does he mean when he says Trump
13· won't win.· I made F'ing sure of that.· Nothing?
14· · · · · · According to DHS's former cyber security
15· director Chris Krebs, this was our most secure
16· election in history.· Nothing to see here.
17· Incidentally, Krebs' now infamous most secure
18· election in history memo was co-written with the
19· endorsement of the election commission.· Dominion is
20· on that commission.· Dare we dig deeper?· We'll be
21· right back.
22· · · · · · SPEAKER:· Political correctness operates
23· within the same guiding principles that any hate group
24· does.· It demands that everyone look, sound and act in a
25· particular way.· We should not be afraid to speak our


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·1· minds no matter how harsh our thoughts might be.· The
·2· downfall of free speech is the downfall of a free
·3· society.
·4· · · · · · In May, 1991 President George HW Bush gave
·5· a commencement speech at the University of Michigan.
·6· In it he identified political correctness as a threat
·7· to America.
·8· · · · · · PRESIDENT BUSH:· The notion of political
·9· correctness has ignited controversy across the land, and
10· although the movement arises from the laudable desire to
11· sweep away the debris of racism and sexism and hatred,
12· it replaces old prejudice for new ones.· He declares
13· certain topics off limits, certain expression off
14· limits, even certain gestures off limits.· What began as
15· a crusade for civility has soured into a cause of
16· conflict and even censorship.· ·Disputants treat sheer
17· force, getting their does punished or expelled, for
18· instance, as a substitute for the power of ideas.
19· · · · · · Throughout history attempts to micro manage
20· casual conversation have only incited distrust.
21· They've invited people to look for an insult in every
22· word, gesture, action, and in their own Orwellian
23· way, crusades that demand correct behavior crush
24· diversity in the name of diversity.
25


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·1· · · · · · SIDNEY POWELL:· There should never be another
·2· election conducted in this country, I don't care if it's
·3· for local dog catcher, using a Dominion machine and
·4· Smartmatic software.· We have got to have an American
·5· company that uses paper ballots that we can all verify
·6· so every one of us can see that our vote is our vote.
·7· · · · · · CHANEL RION:· In the early 2,000s, the
·8· election technology market had over 20 competitors.
·9· Twenty years later Dominion and two others dominate the
10· voting technology market in America.· This is a problem,
11· especially if they're Antifa-drenched engineers are hell
12· bent on deleting half of America's voice.· If they're
13· saying this in the open, what are they saying behind
14· closed doors.
15· · · · · · In 2014 Dominion partnered with the Clinton
16· Foundation.· Dominion admits this, but assures all
17· their partnership with the Clinton Foundation has
18· nothing to do with how Dominion tabulates votes
19· across America.· Go ahead, believe them.· Big media,
20· big tech and big government demand that you do.
21· Meanwhile, citizens like Joe Oltmann, analysts like
22· Ron Watkins, news outlets like OAN and lawyers like
23· Sidney Powell will keep asking the questions the FBI
24· refuses to and the left demands you ignore.
25· · · · · · (End of excerpt at 29:56.)


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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

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11· · · · · · Dated this 15th day of June, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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